     Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 1 of 17 PageID #: 1248




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

MICHAEL AMOS, et al.                                                                 PLAINTIFFS

v.                                                      CIVIL ACTION NO. 4:20-CV-7-SA-JMV

NATHAN BURL CAIN, et al.                                                           DEFENDANTS

                                         Consolidated with

DARRAN LANG, et al.                                                                  PLAINTIFFS

v.                                                    CIVIL ACTION NO. 4:20-CV-30-SA-JMV

JEWORSKI MALLET, et al.                                                            DEFENDANTS

                           ORDER AND MEMORANDUM OPINION

       Now before the Court is the Defendants’ Motion to Dismiss [318]. The Motion [318] has

been fully briefed and is ripe for adjudication. The Court has reviewed the filings, along with the

applicable authorities, and is prepared to rule.

                          Relevant Factual and Procedural Background

       This civil case is a putative class action involving a total of 277 Plaintiffs. The Plaintiffs

include former and current inmates of the Mississippi State Penitentiary (“MSP”) located in

Parchman, Mississippi. The Plaintiffs allege that the conditions at MSP are so egregious that they

violate the Plaintiffs’ constitutional rights. They request declaratory and injunctive relief as to

those conditions.

       This consolidated action was initially filed as two separate cases. The first lawsuit was

commenced on January 14, 2020, when 29 Plaintiffs filed their Complaint [1] against Pelicia E.

Hall (in her official capacity as Commissioner of the Mississippi Department of Corrections) and

Marshal Turner (in his official capacity as the Superintendent of MSP). Since that time, the parties
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 2 of 17 PageID #: 1249




have engaged in extensive motion practice, and the Plaintiffs have amended their Complaint on

multiple occasions. A second lawsuit was initiated on February 25, 2020. That lawsuit involved

the same subject matter and many of the same Defendants. As a result, on November 12, 2020, the

Court entered an Order noting that “[b]oth cases involve current and former prisoners at Parchman

alleging violations of their constitutional rights based on the conditions within the prison, the

plaintiffs and the defendants are represented by the same counsel in both actions, and the

procedural postures of the cases [are not significantly different].” See N.D. Miss. Cause No. 4:20-

CV-30-SA-JMV, [56] at p. 3. The Court therefore consolidated the cases pursuant to Rule 42 of

the Federal Rules of Civil Procedure.

        On January 12, 2022, the Plaintiffs filed their Second Amended Complaint [316], which is

now the operative Complaint. The Second Amended Complaint [316] includes 179 Plaintiffs who

request class status and seek declaratory and injunctive relief as to the conditions at MSP.1 The

Second Amended Complaint [316] names as Defendants: Nathan “Burl” Cain (in his official

capacity as Commissioner of MDOC); Jeworski Mallett (in his official capacity as Deputy

Commissioner of Institutions for MDOC); Timothy Morris (in his official capacity as

Superintendent of MSP); Donald Faucett (in his official capacity as Chief Medical Officer of

MDOC); Lee Simon (in his official capacity as the Warden of Area I of MSP); Tracy McDonald

(in his official capacity as the Warden of Area II of MSP); and Sonja Stanciel (in her official

capacity as Chief of Security of MSP).

        Through the present Motion [318], the Defendants request that the Court dismiss the claims

of 197 of the 277 Plaintiffs. In making that request, the Defendants separate the 277 Plaintiffs into



1
 The Court recognizes the obvious discrepancy between the previous statement that the case involves 277
Plaintiffs and the fact that the Second Amended Complaint [316] lists only 179 Plaintiffs. The Court will
address that discrepancy more fully hereinafter.

                                                   2
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 3 of 17 PageID #: 1250




different categories, making specific arguments as to each category. The Motion [318] has been

fully briefed.

                                       Analysis and Discussion

        The Defendants raise two main arguments to support their Motion [318]. First, they assert

that the Plaintiffs who are no longer housed at MSP lack standing to proceed. Second, they contend

that the unrepresented Plaintiffs who have not complied with the Court’s previous Orders [239,

264] should be dismissed for failure to prosecute.2 Prior to addressing these arguments, the Court

will further expound upon the various categories of Plaintiffs and the different arguments

applicable to each group. Because the Defendants have concisely explained these categories, the

Court quotes from their Memorandum [319]:

                 One hundred and ninety-seven (197) named Plaintiffs should be
                 dismissed for the reasons set forth in Defendants’ Motion and this
                 Memorandum, some of them for overlapping reasons. Of those 197
                 Plaintiffs, 144 are represented by counsel and 53 are not. The
                 following paragraphs and accompanying table seek to explain to the
                 Court the categories of named Plaintiffs who should be dismissed
                 from this consolidated action.

                 Ninety-eight (98) represented Plaintiffs who were included in the
                 consolidated Second Amended Complaint filed on January 12, 2022
                 [Doc. 316] admit they are no longer housed at MSP, an admission
                 that renders their claims moot (“Admittedly Transferred
                 Plaintiffs”). Forty-five (45) additional represented Plaintiffs were
                 included in the original amended complaints but were totally
                 omitted by their counsel from the Second Amended Complaint
                 [Doc. 316] such that they no longer assert a case or controversy and
                 have abandoned any claims they may have had against Defendants
                 (“Omitted Plaintiffs”). Forty-three (43) of the 45 Omitted Plaintiffs
                 also cannot prove they are housed at MSP or that they have an
                 expectation of returning.

                 All 53 pro se Plaintiffs are subject to dismissal on the basis that they
                 are not adequate class counsel and representative (“Pro Se

2
  There is some overlap between these two categories. For instance, some of the Plaintiffs against whom
the Defendants seek dismissal are proceeding pro se and have not complied with the Court’s previous
Orders but are also no longer incarcerated at MSP.

                                                    3
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 4 of 17 PageID #: 1251




                 Plaintiffs”). Of those 53 Pro Se Plaintiffs, 43 are also not housed at
                 MSP and have no demonstrated probability or expectation of being
                 re-incarcerated there. (“Transferred Pro Se Plaintiffs”). And 52 of
                 the 53 have also failed to prosecute their claims or obey orders of
                 the Court (“Nonprosecution Plaintiffs”).

[319] at p. 2-3 (emphasis in original).

       With those categorizations in mind, the Court turns to the Defendants’ specific arguments

for dismissal.

       I.        Pro Se and Omitted Plaintiffs

       Because it is dispositive as to many of the Plaintiffs, the Court begins with the Defendants’

second argument. The Defendants contend “[t]here are 53 Pro Se Plaintiffs, 52 of whom have not

prosecuted their claims or followed orders of the Court despite repeated warnings of the

consequences for failing to do so.” [319] at p. 17. This argument stems from those Plaintiffs’

failure to comply with the Court’s prior Orders.

       On August 16, 2021, this Court entered an Order [239] which in pertinent part directed

parties on whose behalf there was no counsel of record:

                 Plaintiffs listed in [Paragraph] 1 above are directed to notify the
                 Court in writing on or before September 16, 2021, as to whether they
                 will continue to proceed pro se or with new counsel. If any plaintiff
                 intends to proceed with new counsel, new counsel must enter an
                 appearance herein on or before September 16, 2021. Plaintiffs are
                 warned that failure to comply with this order may lead to
                 dismissal of their claims for failure to prosecute.

[239] at p. 3 (emphasis added).

       Only one Plaintiff, Charles Gayles, responded to this Order and indicated his intent to

proceed pro se. See [242].

       This Court recognized the other Plaintiffs’ failure to respond in another Order [264] entered

on October 7, 2021. In that Order [264], the Court noted as follows:



                                                   4
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 5 of 17 PageID #: 1252




                It has now been approximately 21 days since the September 16
                deadline, and only one Plaintiff, Charles Gayles, has responded to
                the August 16 order. And, no attorney has entered an appearance on
                behalf of the plaintiffs listed above. Neither has any plaintiff listed
                above requested additional time to comply with the August 16 order.

                THEREFORE, IT IS ORDERED that on or before October 25,
                2021, the pro se plaintiffs listed above, except Mr. Gayles, must
                show cause in writing why the Court should not consider their
                claims abandoned and why their claims, consequently, should not
                be dismissed for failure to prosecute and for failure to obey an order
                of the Court. Plaintiffs are warned that failure to comply with this
                order and/or keep the Court informed of a current mailing address
                may lead to dismissal of their claims for failure to obey an order of
                the Court and/or failure to prosecute.

[264] at p. 2-3 (internal citations omitted).

        Citing these Orders [239, 264] and the Pro Se Plaintiffs’ continued failure to comply, the

Defendants assert that the Pro Se Plaintiffs’ claims should be dismissed. This Court is cognizant

that leniency should be extended to pro se litigants. See, e.g., Calhoun v. Hargrove, 312 F.3d 730,

733-34 (5th Cir. 2002) (quoting Taylor v. Books A Million, Inc., 296 F.3d 376, 378 (5th Cir. 2002))

(“It is well-established that ‘pro se complaints are held to less stringent standards than formal

pleadings drafted by lawyers.’”); Davis v. Fernandez, 798 F.3d 290, 293 (5th Cir. 2015) (noting

that federal courts “have a traditional disposition of leniency toward pro se litigants”). However,

the Court cannot excuse the Pro Se Plaintiffs’ failure to comply with the most fundamental

requests, such as affirmatively indicating their intent to proceed with their claims.

        Consequently, the Court accepts the Defendants’ arguments on this point. The claims of

the 52 Pro Se Plaintiffs who have not complied with the directives of this Court are hereby

dismissed for failure to prosecute.3 Those Plaintiffs are:

                Andrew Alexander, Gregory Canderdy, Wesley Clayton, Donte
                Conner, Dustin Crump, Antonio Davis, Jonathan Davis, James
3
  The Court will not dismiss the claims of Charles Gayles, who has, at least to some extent, complied with
this Court’s directives. His claims will be addressed more fully hereinafter.

                                                    5
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 6 of 17 PageID #: 1253




                Dooley, Chancellor Eaton, Isaac Garner, Antonio Goldman,
                Stephen Grisham, Justin Hammons, Desmond Hardy, Kewan
                Hosey, Alchello House, Dennis Jobe, Quenten Johnson, Michael
                Jones, Frederick Jordan, Deaunte Lewis, Jimmie Magee, Larry
                Maxwell, Kentrures McCoy, Kristopher Meisenholder, Tyler
                Miller, Sammy Miller, Bobby Mitchell, Alex Morris, Timothy
                Myers, Cory Page, Jeremiah Patterson, Marcus Ramsey, Michael
                Ray, James Richards, Brandon Robertson, Quincy Robertson,
                Charles Daniel Scrimpshire, Phillip Shumaker, Christopher Smith,
                Robert Sylvester Smith, Keion Stanfield, Jammichael Strong,
                Cordarius Strong, James Sudduth, Michael Tarvin, Charlie Taylor,
                Keith Thayer, Kevin Thomas, Mark Thomas, Zarek Tyler, Kendrick
                Tyson

[318], Ex. 4 at p. 1-3.

        As noted above, the claims of those Plaintiffs are dismissed for failure to prosecute. Those

Plaintiffs are hereby terminated as litigants in this case.

        The Defendants also request dismissal of the claims of the “Omitted Plaintiffs.” As noted

above, the “Omitted Plaintiffs” category consists of the Plaintiffs who were listed as a party in one

of the previous Complaints but were not listed in the now-operative Second Amended Complaint

[316]. The Defendants contend that the “Omitted Plaintiffs” have abandoned their claims and

should therefore be dismissed. In their Response [331], the Plaintiffs represent that they “make no

argument about the 45 former plaintiffs who were in prior pleadings but are not party to the Second

Amended Complaint.” [331] at p. 14. The Court also notes that none of those individuals have

filed a separate response to the Motion [318].

        As these individuals are no longer listed as parties in the operative Complaint [316] and

have not otherwise indicated their intent to pursue relief, the Court agrees that their claims should

be dismissed. Those individuals are:

                Jamar Allen, Christopher Ballard, John Henry Barnett, Kevin Boyd,
                Charles Brown, Marlon Bruce, Keyshun Burnside, Jonathan Burns,
                Carlos Carter, Michael Cannon, Ted Dewayne Cauthen, Demario
                Coleman, Nathan Collier, Nicholas Crawford, Walter Dennis Cox,

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    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 7 of 17 PageID #: 1254




                Antonio Davis, Erphon Davis, Henry Dennis, James Durr, Lorenzo
                Evans, Ray Evans, Joseph Glenn, Kenneth Gowdy, Jonathan Ham,
                Carlos Henderson, George Hudson, Billy James Jr., Shun January,
                Calip Johnson, Shaquille Johnson, Newton Knight, Curtis Lipsey,
                Adrian Martin, Bradley Mask, Jesse McCuin, Bobby Montson,
                Victor Otempong, Derrick Pam, Travis Partee, Russell Reich,
                Kendrick Ross, Frederick Spires, Marcus Vaughn, John Fitzgerald
                Ware, Antwune Washington

[318], Ex. 4 at p. 1-3.

        The claims of these Plaintiffs are hereby dismissed, and they are terminated as litigants in

this case.

        II.     Standing

        The Court next turns to the Defendants’ standing arguments. The Defendants originally

contended that the claims of 187 Plaintiffs should be dismissed on this ground. However, because

there is significant overlap with the categories of Plaintiffs addressed in the preceding Section,

there are only 99 remaining Plaintiffs who are subject to this argument. This number includes the

98 “Admittedly Transferred Plaintiffs” as well as one additional Plaintiff, Nicholas Brooks, who

has been released from custody altogether since the initiation of this litigation.

        The Defendants attached to their Motion [318] a sworn Declaration of Jeworski Mallett,

who serves as the Deputy Commissioner of Institutions for MDOC and is one of the Defendants

in this lawsuit. See [318], Ex. 1. Mallett’s Declaration includes an explanation of MDOC’s

procedures for transferring inmates and also includes extensive documentation showing that the

above-referenced 187 Plaintiffs (with only 99 Plaintiffs still being relevant for purposes of the

present analysis) are in fact no longer housed at MSP—either by reason of transfer to another

facility or release from MDOC custody altogether. See id.

        “Article III’s case-or-controversy requirement imposes an ‘irreducible constitutional

minimum of standing,’ which consists of three elements: (1) a plaintiff must have suffered an

                                                  7
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 8 of 17 PageID #: 1255




injury in fact—an invasion of a legally protected interest which is . . . concrete and particularized,

and . . . actual or imminent; (2) there must be ‘a causal connection between the injury and the

conduct complained of’; and (3) the injury must be likely to be redressed by a favorable decision.”

Yarls v. Bunton, 905 F.3d 905, 909 (5th Cir. 2018) (quoting Lujan v. Defs. of Wildlife, 504 U.S.

555, 560-61, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992); Fla. Dep’t of Ins. v. Chase Bank of Tex.

Nat’l Ass’n, 274 F.3d 924, 929 (5th Cir. 2001)). Importantly, Article III standing must exist not

only at the outset of the litigation but must persist throughout its existence. Id. (citing K.P. v.

LeBlanc, 729 F.3d 427, 438 (5th Cir. 2013)). To that end, “[a] case becomes moot—and therefore

no longer a ‘Case’ or ‘Controversy’ for purposes of Article III when the issues presented are no

longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” Id. (quoting Already,

LLC v. Nike, Inc., 568 U.S. 85, 91, 133 S. Ct. 721, 184 L. Ed. 2d 553 (2013); Murphy v. Hunt, 455

U.S. 478, 481, 102 S. Ct. 1181, 71 L. Ed. 2d 353 (1982)) (internal quotation marks omitted).

       The Defendants contend that an appropriate application of this standard renders moot the

claims of the Plaintiffs who are no longer housed at MSP because, even if the Court were to grant

the relief requested in the Second Amended Complaint [316], the Admittedly Transferred Plaintiffs

would not be affected. The Plaintiffs do not dispute the underlying information provided in

Mallett’s Declaration. In other words, the Plaintiffs agree with the Defendants’ representations as

to which Plaintiffs have been transferred and which Plaintiffs have been released altogether.

Furthermore, the Plaintiffs agree that those Plaintiffs who have been “released entirely from

incarceration rather than being transferred between MDOC facilities” should be dismissed from

this lawsuit based upon the mootness doctrine. [331] at p. 14. The Plaintiffs disagree, however,

with the Defendants’ arguments as to those Plaintiffs who are still in MDOC custody but have

simply been transferred away from MSP to a different facility. They contend that these individuals



                                                  8
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 9 of 17 PageID #: 1256




“retain standing despite their transfer from Parchman.” Id. at p. 2. The Court will address those

arguments but, first, will dismiss the claims of the individuals who have been released from MDOC

custody altogether, recognizing that the Plaintiffs do not oppose the Defendants’ argument on that

issue. Those individuals are:

                Troy James Ford, Tyler Graham, Michael Jamison, Billy Lee, Chad
                Marshall, Tyredius Roberts, Joseph Stanford, Nicholas Brooks

[318], Ex. 2 at p. 1-5.

        The claims of those particular Plaintiffs are hereby dismissed, and they are terminated as

litigants in this case.

        That leaves only the Plaintiffs who have been transferred from MSP yet remain in MDOC

custody. The Fifth Circuit has previously analyzed mootness in a conditions of confinement case

originating from this Court. See Smith v. City of Tupelo, Miss., 281 F. App’x 279 (5th Cir. 2008).

There, the plaintiff was arrested on open container and possession of crystal methamphetamine

charges and placed in the Lee County Jail until he was taken before a justice court judge three days

later. Id. at 281. He later filed a civil lawsuit requesting, among other relief, injunctive and

declaratory relief based upon the conditions of confinement at the Lee County Jail. Id. at 282. On

appeal, the Fifth Circuit affirmed this Court’s finding that the case was rendered moot after the

plaintiff was released from the facility. Id. Specifically, the Fifth Circuit held that “[a] claim for

declaratory and injunctive relief based on conditions of confinement is rendered moot upon the

prisoner’s release or transfer from the facility.” Id. (citing Herman v. Holiday, 238 F.3d 660, 665

(5th Cir. 2001)) (emphasis added). The Fifth Circuit further noted that “[a]ny suggestion of relief




                                                  9
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 10 of 17 PageID #: 1257




based on the possibility of future detention in the Lee County holding cell is too speculative to

warrant relief.” Id. (citing Herman, 238 F.3d at 665).4

        While the Defendants rely on cases such as Smith to support their mootness argument, the

Plaintiffs emphasize that inmates who are transferred away from MSP by MDOC are often

transferred back to MSP prior to being released. The Plaintiffs provide a chart listing eighteen

individual Plaintiffs who MDOC has transferred away from MSP only to be returned later. They

emphasize that MDOC controls whether the inmates are transferred and that the Defendants should

not be able to simply moot the case by initiating transfers of all Plaintiffs, only to have them later

be returned to MSP.

        To support their position, the Plaintiffs point to the Fifth Circuit’s decision in Oliver v.

Scott, 276 F.3d 736 (5th Cir. 2002). There, the Fifth Circuit noted that an inmate seeking to

challenge conditions of confinement at a facility where he is no longer housed “must show either

a ‘demonstrated probability’ or a ‘reasonable expectation’ that he would be transferred back to

[the facility] or released and reincarcerated there.” Id. at 741 (citing Murphy v. Hunt, 455 U.S. 478,

482, 102 S. Ct. 1181, 71 L. Ed. 2d 353 (1982)). This Court has recently recognized this standard,

particularly holding that “[o]rdinarily, a prisoner’s transfer to another facility ‘renders his claims

for declaratory and injunctive relief moot.’ To establish that his claims are not moot, [the plaintiff]

‘must show either a “demonstrated probability” or a “reasonable expectation” that he will be

transferred back to MSP.” McMillian v. MDOC, 2021 WL 2463563, at *4 (N.D. Miss. June 16,

2021) (quoting Herman, 238 F.3d at 665; Oliver, 276 F.3d at 741). “At its most lenient, the




4
 In Smith, the Fifth Circuit analyzed separately the plaintiff’s claims for injunctive and declaratory relief
as opposed to his claims for monetary damages. The claims for monetary damages were not dismissed as
moot but were instead addressed on the merits. Unlike Smith, in the case at bar, the Plaintiffs have only
brought claims for injunctive and declaratory relief.

                                                     10
   Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 11 of 17 PageID #: 1258




standard is not ‘mathematically precise’ and requires only a ‘reasonable likelihood’ of repetition.”

Id. (citing Honig v. Doe, 484 U.S. 305, 318-19, 108 S. Ct. 592, 98 L. Ed. 2d 686 (1988)).

        The Plaintiffs also note Supreme Court precedent for the proposition that “a defendant

seeking to establish mootness because his actions have removed the injury faces a stringent and

demanding showing.” [331] at p. 4 (citing Parents Involved in Community Schools v. Seattle Sch.

Dist. No. 1, 551 U.S. 701, 719, 127 S. Ct. 2738, 168 L. Ed. 2d 508 (2007)). Although not making

any direct bad faith allegations, the Plaintiffs contend that “[t]he MDOC has arranged for

thousands of transfers since this litigation began, and there is every indication they will continue

this routine practice.” [331] at p. 8. Again, the Plaintiffs take the position that because it is so easy

for the Defendants to transfer a particular inmate, if the Court were to dismiss each Plaintiff who

gets transferred on that ground, the Defendants could essentially moot the entire lawsuit through

their own conduct.

        Reverting back to the applicable standard, the Court first notes that the situation faced by

these individuals differs substantially from cases like Smith where the plaintiff was released from

custody altogether. In Smith, for example, the defendants had no control whatsoever over whether

the plaintiff returned to custody at a future date. That fact clearly differentiates Smith from the case

at bar, where MDOC presumably retains complete control as to whether any of the subject

Plaintiffs are transferred back to MSP. However, the Plaintiffs nevertheless must establish either

a “demonstrated probability” or a “reasonable expectation” that they will be transferred back to

MSP. See, e.g., McMillian, 2021 WL 2463563 at *4.

        On that point, as noted above, the Plaintiffs emphasize the chart in their Memorandum

[331] which indicates that, since the initiation of this litigation approximately two years ago, 18




                                                   11
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 12 of 17 PageID #: 1259




Plaintiffs have been transferred away from MSP only to be later transferred back there.5 While 18

Plaintiffs is not an inconsequential number, the Court also notes that this is a putative class action

with an extensive number of Plaintiffs. Furthermore, the Court notes that the Plaintiffs themselves

admit that MDOC’s conduct of transferring inmates is a “routine practice.” That leaves the Court

with a host of individuals who have, as admitted by the Plaintiffs, been transferred as part of a

“routine practice” and who have nothing definitive to indicate that they will ever be transferred

back to MSP. As to the potential to return to MSP, the Plaintiffs assert that “[g]iven this record,

there is a significant probability that any given one of the Transferred Represented Plaintiffs will

be transferred back to Parchman, well above the ‘reasonable likelihood’ required by Fifth Circuit

case law to preclude mootness.” [331] at p. 9.

        The Court finds the Plaintiffs’ theory of merely pointing to previous transfers of various

inmates insufficient to constitute a “demonstrative probability” or a “reasonable expectation” that

they will be transported back to MSP. The argument is in no way particularized as to any specific

Plaintiff being subject to a transfer back to MSP. In essence, this argument is speculatory based

upon the fact that inmates, some of whom are involved in this litigation, have been transferred in

the past. Furthermore, the Plaintiffs cite no cases wherein a court has found the mootness doctrine

inapplicable when the inmate provides no particularized evidence indicating that any particular

inmate faces a potential transfer back to the subject facility. While cognizant that the standard is

not one of mathematical precision, the Court finds that the Plaintiffs’ arguments here are




5
  Although the chart the Plaintiffs provided lists 18 Plaintiffs, they also note that there are two other
Plaintiffs (Vincent Currlee and Richard J. Wilson) who are not represented by counsel who fall within this
category. However, the Plaintiffs’ Response [331] does not provide further information regarding those two
Plaintiffs since they are not represented by counsel.

                                                   12
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 13 of 17 PageID #: 1260




speculative. Without more, the Court finds that the transferred Plaintiffs cannot proceed. Their

claims are moot.6

        Having found that the claims of the transferred Plaintiffs are moot, their claims will be

dismissed. Those Plaintiffs are:

                Michael Amos, Caleb Buckner, Willie Friend, William Green,
                Justin James, Terrance McKinney, Ivery Moore, Derrick Rogers,
                Deangel Taylor, Lemartine Taylor, Conti Tillis, Carlos Varnado,
                Adrian Willard, Curtis Wilson, Cedric Andrews, Roger Boyd,
                Frederick Brown, Dillon Callaway, Lebarron Chatman, Johnathan
                Clark, Johnny Colton, James Cox, Charles Cross, Ricky Darden,
                John Davis, Anthony Day, Joseph Dennis, Wendell Duncan, Jamie
                Elaire, Nigel Farmer, Antron Finklea, Ricky Frierson, Terrence
                Gatlin, Brandon Gilmore, Dantavious Hairston, Brymon Hamp,
                Jonathan Herrington, Gregory Hicks, Janarian Hill, Joseph Holiday,
                Quincy Holmes, Antonio Hoover, Nathaniel Jackson, William
                Jackson, Michael Jamison, Sellers Johnson, Xavier Johnson,
                Alexander Jones, Juarez Keyes, Carderrius King, Darran Lang,
                Malcom Lathan, Justin Lease, Legrane Lenox, Alvin Luckett, Ted
                Mangum, Chad Marshall, Carles Miles, Eris Moore, Bennie Motten,
                Brian Nettles, Terry Pierce, Casimir Poe, Wilfred Powell, Mario
                Ragland, Joseph Lee Reese, Jerry Rice, Emanuel Richardson,
                Ronaldo Rogers, Leon Ruffin, Jr., Dominico Saddler, Daryl Shinn,
                Lonnie Sims, Herman Sipp, Jr., Tyler Smith, Lynn Spurlock,
                Remington Steele, Keith Steinmetz, Darwin Strahan, Demarquis
                Tate, Christopher Thomas, Eric Thomas, Raymond Thomas, Airick
                Toins, Qy’Darrious Towns, Linnox Walker, Johnny Wallace, Corey
                James Wells, Efrem Whitfield, Daniel Williams, Mario Williams,
                Joe Womack, Dominico Young

[318], Ex. 2 at p. 1-5.

        Those Plaintiffs’ claims are hereby dismissed, and they shall be terminated as parties on

the docket.7


6
  The Court also emphasizes that, even by finding the claims of these transferred Plaintiffs moot, the
Defendants cannot escape judicial review altogether. The class action lawsuit challenging MSP’s conditions
of confinement will still be permitted to proceed. In the Court’s view, this is a critical distinction between
this case and a typical case where the dismissal of one plaintiff may moot the entire lawsuit and permit the
defendant(s) to altogether evade judicial review.
7
  To be clear, the Court does not adopt a per se rule that a transfer away from a particular facility moots a
case as a matter of law. The Plaintiffs express concern about such a rule, and this Court understands that

                                                     13
   Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 14 of 17 PageID #: 1261




       Despite its ruling, the Court does recognize the Plaintiffs’ concerns. In particular, by

finding moot the claims of the Plaintiffs who have been transferred from MSP but who remain in

MDOC custody, the Court has potentially opened the door for gamesmanship by the Defendants.

The Defendants may believe that they can moot this entire lawsuit by transferring the Plaintiffs

away from MSP only to transfer them back to MSP if/when the Court dismisses their claims. The

Court will not tolerate such conduct.

       As noted above, the Court proceeds in issuing this ruling under the assumption (as admitted

by the Plaintiffs) that the Defendants’ transfers have been part of their “routine practice.” If at any

time throughout the course of this litigation it appears as though transfers begin to occur in any

manner other than “routine practice,” the Court may reconsider this ruling. The Plaintiffs shall

notify the Court if any such practices become apparent. While this case is not a typical one, the

Court will not hesitate to fashion an appropriate remedy if the Defendants engage in intentional

gamesmanship to subvert judicial review. See, e.g., Hernandez v. Cremer, 913 F.2d 230, 235 (5th

Cir. 1990) (quoting U.S. v. Oregon State Med. Soc’y, 343 U.S. 326, 333, 72 S. Ct. 690, 96 L. Ed.

978 (1952)) (“It is the duty of the courts to beware of efforts to defeat injunctive relief by

protestations of repentance and reform, especially when abandonment seems timed to anticipate

suit, and there is a probability of resumption.”).8

                                             Conclusion

       For the reasons set forth above, the Defendants’ Motion to Dismiss [318] is GRANTED.

The claims of the following Plaintiffs are dismissed without prejudice:

               Andrew Alexander, Gregory Canderdy, Wesley Clayton, Donte
               Conner, Dustin Crump, Antonio Davis, Jonathan Davis, James

concern. Rather, as explained above, the Court finds that the Plaintiffs have not shown there is a
“demonstrated probability” or “reasonable likelihood” that they will return to MSP.
8
  The Court also notes that its ruling today does not prohibit any Plaintiff who has previously been
transferred from re-filing a lawsuit in the event they are transferred back to MSP.

                                                  14
Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 15 of 17 PageID #: 1262




         Dooley, Chancellor Eaton, Isaac Garner, Antonio Goldman,
         Stephen Grisham, Justin Hammons, Desmond Hardy, Kewan
         Hosey, Alchello House, Dennis Jobe, Quenten Johnson, Michael
         Jones, Frederick Jordan, Deaunte Lewis, Jimmie Magee, Larry
         Maxwell, Kentrures McCoy, Kristopher Meisenholder, Tyler
         Miller, Sammy Miller, Bobby Mitchell, Alex Morris, Timothy
         Myers, Cory Page, Jeremiah Patterson, Marcus Ramsey, Michael
         Ray, James Richards, Brandon Robertson, Quincy Robertson,
         Charles Daniel Scrimpshire, Phillip Shumaker, Christopher Smith,
         Robert Sylvester Smith, Keion Stanfield, Jammichael Strong,
         Cordarius Strong, James Sudduth, Michael Tarvin, Charlie Taylor,
         Keith Thayer, Kevin Thomas, Mark Thomas, Zarek Tyler, Kendrick
         Tyson

         Jamar Allen, Christopher Ballard, John Henry Barnett, Kevin Boyd,
         Charles Brown, Marlon Bruce, Keyshun Burnside, Jonathan Burns,
         Carlos Carter, Michael Cannon, Ted Dewayne Cauthen, Demario
         Coleman, Nathan Collier, Nicholas Crawford, Walter Dennis Cox,
         Antonio Davis, Erphon Davis, Henry Dennis, James Durr, Lorenzo
         Evans, Ray Evans, Joseph Glenn, Kenneth Gowdy, Jonathan Ham,
         Carlos Henderson, George Hudson, Billy James Jr., Shun January,
         Calip Johnson, Shaquille Johnson, Newton Knight, Curtis Lipsey,
         Adrian Martin, Bradley Mask, Jesse McCuin, Bobby Montson,
         Victor Otempong, Derrick Pam, Travis Partee, Russell Reich,
         Kendrick Ross, Frederick Spires, Marcus Vaughn, John Fitzgerald
         Ware, Antwune Washington

         Troy James Ford, Tyler Graham, Michael Jamison, Billy Lee, Chad
         Marshall, Tyredius Roberts, Joseph Stanford, Nicholas Brooks

         Michael Amos, Caleb Buckner, Willie Friend, William Green,
         Justin James, Terrance McKinney, Ivery Moore, Derrick Rogers,
         Deangel Taylor, Lemartine Taylor, Conti Tillis, Carlos Varnado,
         Adrian Willard, Curtis Wilson, Cedric Andrews, Roger Boyd,
         Frederick Brown, Dillon Callaway, Lebarron Chatman, Johnathan
         Clark, Johnny Colton, James Cox, Charles Cross, Ricky Darden,
         John Davis, Anthony Day, Joseph Dennis, Wendell Duncan, Jamie
         Elaire, Nigel Farmer, Antron Finklea, Ricky Frierson, Terrence
         Gatlin, Brandon Gilmore, Dantavious Hairston, Brymon Hamp,
         Jonathan Herrington, Gregory Hicks, Janarian Hill, Joseph Holiday,
         Quincy Holmes, Antonio Hoover, Nathaniel Jackson, William
         Jackson, Michael Jamison, Sellers Johnson, Xavier Johnson,
         Alexander Jones, Juarez Keyes, Carderrius King, Darran Lang,
         Malcom Lathan, Justin Lease, Legrane Lenox, Alvin Luckett, Ted
         Mangum, Chad Marshall, Carles Miles, Eris Moore, Bennie Motten,
         Brian Nettles, Terry Pierce, Casimir Poe, Wilfred Powell, Mario

                                        15
    Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 16 of 17 PageID #: 1263




                 Ragland, Joseph Lee Reese, Jerry Rice, Emanuel Richardson,
                 Ronaldo Rogers, Leon Ruffin, Jr., Dominico Saddler, Daryl Shinn,
                 Lonnie Sims, Herman Sipp, Jr., Tyler Smith, Lynn Spurlock,
                 Remington Steele, Keith Steinmetz, Darwin Strahan, Demarquis
                 Tate, Christopher Thomas, Eric Thomas, Raymond Thomas, Airick
                 Toins, Qy’Darrious Towns, Linnox Walker, Johnny Wallace, Corey
                 James Wells, Efrem Whitfield, Daniel Williams, Mario Williams,
                 Joe Womack, Dominico Young

        The Clerk of Court is hereby directed to terminate those Plaintiffs as parties on the docket

in this case.9

        Furthermore, as noted above, the Court will not dismiss the claims of Charles Gayles, who

is proceeding pro se. However, because he is not listed as a Plaintiff on the operative Second

Amended Complaint [316], the Court finds that he should not remain part of this case. Rather, the

Clerk of Court is hereby directed to reassign Charles Gayles a separate case number for his own

individual pro se case.10

        In addition, the Court notes, as it did above, that this action was initially filed as two

separate cases. Because this case (4:20-CV-7-SA-JMV) is designated as the lead case, all filings

must be made in this case. The member case is hereby SEVERED, and the Clerk of Court shall

take all steps necessary to administratively close that case. The docket in the lead case shall be



9
  Cordarius Strong also filed a Pro Se Motion [329] requesting that his name be removed “from this civil
action complaint.” [329] at p. 1. Because the Court has already terminated him as a Plaintiff due to his
failure to prosecute, the Motion [329] is DENIED AS MOOT. Furthermore, another Plaintiff, Stanley
Luster, has filed a Pro Se Motion for Temporary Restraining Order [330] and a Pro Se Motion [337]
regarding exhaustion of administrative remedies. However, Luster is represented by counsel and therefore
cannot file documents in a pro se capacity. See, e.g., Howard v. Epps, 2010 WL 2640231, at *1 (N.D. Miss.
June 28, 2010); U.S. v. Hodges, 2016 WL 7339884, at *1 (E.D. Tex. Nov. 9, 2016). Those Motions [330,
337] are hereby DENIED. The Pro Se Motion [338] filed by Kedric Steele is DENIED for the same reason.
Several Plaintiffs (including Steele on a previous occasion) have filed motions in a pro se capacity while
represented by counsel. The Court hereby specifically advises all Plaintiffs that doing so is not permitted,
and represented Plaintiffs are hereby ordered to not file any additional pro se motions. Plaintiffs’ counsel
should similarly advise their clients of this prohibition. The Defendants’ Motion to Strike [361] is DENIED
AS MOOT.
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   Gayles also filed a Motion for Extension of Time [342]. That Motion [342] is DENIED AS MOOT for
purposes of this case. However, the Court will address it once the new case is assigned.

                                                    16
   Case: 4:20-cv-00030-SA-JMV Doc #: 233 Filed: 03/01/22 17 of 17 PageID #: 1264




updated to include all active Plaintiffs in accordance with the operative Second Amended

Complaint [316] and this Order. The Court notes that it typically does not administratively close

member cases in this fashion; however, because all active Plaintiffs are now listed on the Second

Amended Complaint [316] and the docket of the lead case will be updated to reflect all active

Plaintiffs, the Court sees no need for two separate cases to remain pending. Proceeding in this

fashion will not prejudice the parties in any way.

       This case shall proceed as to the 80 Plaintiffs not subject to the Defendants’ Motion [318].

All of those Plaintiffs are listed in the Second Amended Complaint [316] and are represented by

counsel.

       To summarize, the pending Motions are disposed of as follows: The Motion to Dismiss

[318] is GRANTED. Cordarius Strong’s Pro Se Motion [329] is DENIED AS MOOT. Stanley

Luster’s Pro Se Motions [330, 337] are DENIED. Kedric Steele’s Pro Se Motion [338] is

DENIED. Charles Gayles’ Pro Se Motion [342] is DENIED AS MOOT. The Defendants’ Motion

to Strike [361] is DENIED AS MOOT.

       SO ORDERED, this the 1st day of March, 2022.

                                                     /s/ Sharion Aycock
                                                     UNITED STATES DISTRICT JUDGE




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